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         November 11, 2024

         Hon. Brian A. Jackson
         Russell B. Long Federal Building and United States Courthouse
         777 Florida Street, Suite 139
         Baton Rouge, LA 70801

                  Re:      Voice of the Experienced, et al., v. LeBlanc, et al., No. 3:23-cv-1304-BAJ-EWD

         Dear Judge Jackson,

                We write on behalf of all parties in the above-captioned action to update the Court
         concerning the heat index at Louisiana State Penitentiary (“LSP”) during the period November
         4–November 8, 2024, 1 consistent with the protocol the parties jointly proposed in their June 21,
         2024 letter.

                  As noted in our letter of November 4, 2024, ECF No. 150, the parties respectfully ask the
         Court for guidance on whether they should continue filing weekly heat updates in light of the
         changing seasons and the end of the formal heat season at LSP. As also noted in our November
         4 letter, even if the Court decides it is appropriate to halt the parties’ weekly heat updates,
         Defendants will continue to provide Farm Line information to Plaintiffs, and Plaintiffs’ counsel
         will continue to review Defendants’ weekly reporting.

                 The heat index data listed below was recorded by the National Weather Service (“NWS”)
         at the New Roads False River Regional Airport. The NWS data underlying this summary is
         attached as Exhibit A to this report.

                  Defendants attach as Exhibit B Daily Line Counts, which document activities for the day.

         •   Monday, November 4: The heat index at LSP met or exceeded 88 degrees Fahrenheit from
             10:55 a.m. to 11:55 a.m.; from 12:35 p.m. to 1:15 p.m.; from 1:55 p.m. to 2:35 p.m.; and
             from 3:15 p.m. to 3:35 p.m. The Farm Line was operating during some of this time period.

         •   Tuesday, November 5: The heat index at LSP did not meet or exceed 88 degrees Fahrenheit.
             The Farm Line was not operating on this day.




         1
             Because Defendants report that the Farm Line operates on weekdays only, this summary does not include
             weekend heat data.
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•     Wednesday, November 6: The heat index at LSP did not meet or exceed 88 degrees. The
      Farm Line was operating on this day.

•     Thursday, November 7: The heat index at LSP met or exceeded 88 degrees Fahrenheit from
      12:15 p.m. to 4:15 p.m. The Farm Line was operating during some of this time period.

•     Friday, November 8: The heat index at LSP did not meet or exceed 88 degrees Fahrenheit.
      The Farm Line was operating on this day.

         The parties stand ready to answer any questions the Court may have and thank the Court
for its attention to this matter.

                                             Respectfully submitted,

                                             /s/ Jeremy Benjamin

                                             Jeremy Benjamin

cc:      All Counsel of Record (via ECF)
